         Case 3:14-cv-00352-DJH-DW Document 1 Filed 05/04/14 Page 1 of 2 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Western District
                                                    __________ Districtof
                                                                        ofKentucky
                                                                          __________

                         Kristen Keith                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 3:14-CV-352-S
                                                                      )
   PSI Louisville, Inc., Brooks Law Office, assumed                   )
     name for Stephen Brooks, P.S.C., and GLA                         )
                   Collection Co., Inc.                               )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PSI Louisville, Inc.
                                           Serve: Stephen A. Brooks
                                           105 S. Sherrin Ave.
                                           Louisville, KY 40207




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: James H. Lawson
                                           Lawson at Law, PLLC
                                           4055 Shelbyville Road, Suite B
                                           Louisville, KY 40207



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             05/04/2014
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ✔
           u I served the summons on (name of individual)             Stephen A. Brooks                                            , who is
            designated by law to accept service of process on behalf of (name of organization)            PSI Louisville, Inc.
                                                                                 on (date)                              ; or

           u I returned the summons unexecuted because                                                                                  ; or

           u Other (specify):
                                                                                                                                               .


           My fees are $                           for travel and $                  for services, for a total of $              0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature

                                                                                          James H. Lawson
                                                                                          Printed name and title

                                                                                      Lawson at Law, PLLC
                                                                                  4055 Shelbyville Road, Suite B
                                                                                       Louisville, KY 40207
                                                                                             Server’s address

 Additional information regarding attempted service, etc:
